This is a suit for damages in the nature of personal injuries sustained by plaintiff as the result of an intersectional automobile collision. After trial there was judgment in favor of defendants rejecting plaintiff's demands, from which plaintiff has appealed.
This cause was consolidated, for trial and for purposes of appeal, with Nos. 7417 and 7418 on the docket of this Court.43 So.2d 478; 43 So.2d 481. The facts at issue are fully set forth in our opinion in the suit of Weatherly v. Herlevic et al., 43 So.2d, No. 7417 on the docket of this Court, this day decided.43 So.2d 478. No point of law is involved in a consideration of this case, and for the reasons set forth in the opinion referred to above, the judgment appealed from is affirmed at appellant's cost.